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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

MARK K. MACRIS,
                   Plaintiff,
                                                           17-CV-361
                                                           USCA: Enter USCA #
             -v-
                                                           CLERK’S CERTIFICATE /
                                                           INDEX
SPECIALIZED LOAN SERVICING, LLC.,
                Defendant.
___________________________________


        I, MARY C. LOEWENGUTH, Clerk of the U.S. District Court for the Western
District of New York, DO HEREBY CERTIFY that the foregoing docket entries, with the
exception of any documents listed below, are maintained electronically on the court's
CM/ECF system and constitute the Record on Appeal in the above entitled action.

      The following documents are not available electronically and are
maintained in the Western District of New York:

             Docket No. All Documents Filed Electronically

      Upon your request, we will make the above documents available to you.




                                                     MARY C. LOEWENGUTH
                                                     Clerk of Court
                                                     United States District Court


                                                     By: s/ Colin Jurkowski
                                                     Deputy Clerk




DATED:       September 28, 2021
             Buffalo, NY
